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Monika J. Machen

Attorneys for United Plastics Group

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

In re:
                                                    Chapter 11

DELPHI CORPORATION, et al.,                         Case No. 05-44481 (RDD)

                      Debtors.                      (Jointly Administered)


                            NOTICE OF APPEARANCE AND
                          DEMAND FOR NOTICES AND PAPERS

         PLEASE TAKE NOTICE that United Plastics Group ("United Plastics"), as creditor and

party-in-interest in the above-captioned cases, hereby appears by its counsel, Sonnenschein Nath

& Rosenthal, LLP; such counsel hereby enters its appearance pursuant to section 1109(b) of title

11 of the United States Code (the “Bankruptcy Code”) and Rule 9010(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”); and such counsel hereby requests, pursuant to

Bankruptcy Rules 2002, 3017 and 9007 and sections 342 and 1109(b) of the Bankruptcy Code,

that copies of all notices and pleadings given or filed in the above-captioned cases be given and

served upon the following persons at the following addresses and facsimile numbers:
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                                            Pg 2 of 4



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                                   Attn: Monika J. Machen
                             Email: mmachen@sonnenschein.com


        PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the Bankruptcy

Code, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules and sections of the Bankruptcy Code specified above, but also includes,

without limitation, any notice, application, complaint, demand, motion, petition, pleading or

request, whether formal or informal, written or oral, and whether transmitted or conveyed by

mail, delivery, telephone, telegraph, telex or otherwise filed or made with regard to the above-

captioned cases and proceedings therein.

        PLEASE TAKE FURTHER NOTICE that, United Plastics intends that neither this

Notice of Appearance nor any later appearance, pleading, claim or suit shall waive: (i) United

Plastics’ right to have final orders in non-core matters entered only after de novo review by a

District Judge; (ii) United Plastics' right to trial by jury in any proceeding so triable in these cases

or in any case, controversy, or proceeding related to these cases; (iii) United Plastics’ right to

have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; or (iv) of any other rights, claims, actions, setoffs, or recoupments to
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which United Plastics is or may be entitled, in law or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments United Plastics expressly reserves.

Dated: July 6, 2007
       New York, New York                     SONNENSCHEIN NATH & ROSENTHAL LLP

                                              /s/    D. Farrington Yates
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                                 CERTIFICATE OF SERVICE

       I, D. Farrington Yates hereby certify that on July 6, 2007, I caused a true copy of the
Notice of Appearance to be served on the following addressees via U.S. mail:

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                                                             By: /s/ D. Farrington Yates
                                                                D. Farrington Yates (DY 8383)

Dated: July 6, 2007




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